Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 1 of 15



                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. ______________

  WIX.COM LTD.,

                 Plaintiff,
  v.                                                             JURY TRIAL DEMANDED

  ELECTRONIC COMMUNICATION
  TECHNOLOGIES LLC,

                 Defendant.



              COMPLAINT FOR DECLARATORY JUDGMENT OF PATENT
       NONINFRINGEMENT AND INVALIDITY, AND RELATED STATE-LAW CLAIMS

          Plaintiff Wix.com Ltd. (“Wix”) files this Complaint for Declaratory Judgment of Patent

  Non-Infringement and Invalidity, and also asserts direct claims for Tortious Interference, and

  Deceptive and Unfair Trade Practices against Defendant Electronic Communication

  Technologies LLC (“ECT”), and in support of its Complaint alleges as follows:

                                    Nature and Basis of Action

          1.     This is an action arising under the Declaratory Judgment Act, 28 U.S.C. §§ 2201

  and 2202 and the United States Patent Act, 35 U.S.C. § 1 et seq., as well as under the statutory

  and common law of the State of Florida.

          2.     In this action, Wix seeks a declaration that: (i) it and its customers utilizing Wix

  technology do not infringe any valid claim of U.S. Patent No. 9,373,261 (“the ’261 patent” or

  “Patent-in-Suit”); and (ii) each of the claims of the Patent-in-Suit are invalid pursuant to 35

  U.S.C. §§ 101, 102, 103 and/or 112. A true and correct copy of the ’261 patent is attached

  hereto as Exhibit A. Wix also asserts causes of action for damages and injunctive relief against
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 2 of 15



  ECT for tortious interference with contract, and for ECT’s violations of the Florida Deceptive

  And Unfair Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.201, et seq.

                                               The Parties

         3.      Plaintiff, Wix.com, Ltd. is an Israeli corporation with a principal place of business

  at 40 Namal Tel Aviv St., Tel Aviv, Israel 6350671. Wix.com Ltd. is a leading website

  development company with millions of users worldwide. Wix.com Ltd. has a wholly owned

  subsidiary, Wix.com Inc. that has a place of business in this District at 1691 Michigan Ave.,

  Miami Beach, Florida 33139. Wix.com Inc. provides customer support functionality for users in

  the United States. Wix.com Inc. employs over 120 people in this Judicial District.

         4.      Upon    information     and     belief,   Defendant   Electronic    Communication

  Technologies, LLC is a corporation organized and existing under the laws of Florida, and lists its

  principal place of business at 711 SW 24th Ave., Boynton Beach, Florida 33435, which appears

  to be a single family home.

         5.      Upon information and belief, ECT’s registered agent and managing member is

  Pete A. Sirianni III. According to ECT’s filings with the Florida Secretary of State’s office, Mr.

  Sirianni’s registered business address is 115 NW 17th Street, Delray Beach, FL 33444. Upon

  information and belief, Mr. Sirianni’s registered business address is also a single family home.

         6.      Upon information and belief, ECT is a non-practicing patent entity and does not

  manufacture, produce and/or sell any products or services. Upon information and belief, Eclipse

  IP LLC (“Eclipse”) changed its name to Electronic Communication Technologies LLC in 2015.

  Upon information and belief, Eclipse was also a non-practicing entity. Upon information and

  belief, ECT and Eclipse share many of the same principals, including both listing Mr. Sirianni III

  as managing member and registered agent. In addition, upon information and belief, Scott




                                                  -2-
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 3 of 15



  Hortsemeyer, the inventor of the Patent-in-Suit here, is a current member of ECT LLC and was

  previously a member of Eclipse LLC.

         7.      Upon information and belief, ECT, like Eclipse before it, is in the business of

  patent licensing through the threat of litigation and ECT has sent dozens, if not hundreds, of

  cease and desist letters to companies throughout the country. Upon information and belief,

  ECT’s letters demand license fees significantly lower than the cost of litigation (often $15,000,

  regardless of the size or revenue of the target) and threaten that if ECT’s demand is not met, it

  will bring patent infringement claims against the target. ECT has followed through on many of

  those threats and has filed dozens of infringement suits asserting infringement of the ‘261 patent,

  including several cases in this District. This is on top of the hundreds of patent infringement

  lawsuits filed by Eclipse on related patents prior to its name change.

         8.      Upon information and belief, ECT is the owner by assignment of the right, title

  and interest in at least twenty-six issued United States Patents, including the Patent-in-Suit.

                                       Jurisdiction and Venue

         9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

  U.S.C. §§ 1331, 1332 and 1338, and the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202.

  This Court also has supplemental jurisdiction over the state law claims asserted herein pursuant

  to 28 U.S.C. § 1367, as those claims are so related to claims in the action within the Court’s

  original subject matter jurisdiction that they form part of the same case or controversy.

         10.     This Court has personal jurisdiction over ECT pursuant to Fla. Stat.

  §48.193(1)(a)(1) and (a)(2) because: (1) ECT has as an office or agency in this state, and

  operates, conducts, engages in, or carries on a business or business venture in this state, and

  Wix’s claims herein arise out of ECT’s presence and activity in this state; and (2) ECT has




                                                  -3-
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 4 of 15



  committed in this state the tortious acts alleged herein. Additionally, this Court has personal

  jurisdiction over ECT pursuant to Fla. Stat. § 48.193(2) because ECT engages in substantial and

  not isolated activity in this state.

          11.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400 as ECT is

  incorporated in Florida and has a principal place of business in this District.

                          Wix’s Website Builder Software and Functionality

          12.     Wix was founded in 2006 and is now a leading cloud-based website development

  platform with millions of users worldwide. Wix makes it easy for anyone to create a beautiful,

  professional web presence. Wix’s website builder allows users to create a fully personalized,

  high quality website for free.

          13.     Wix's technology empowers millions of businesses, organizations, professionals

  and individuals to take their businesses, brands and workflow online. The Wix "drag and drop"

  HTML5 Editor and highly curated App Market enable users to build and manage a fully

  integrated and dynamic digital presence without the need to code.

          14.     Wix also offers a premium subscription service which allows users to add

  additional e-commerce functionality to their website built on the Wix platform. This includes

  connecting to a user’s own domain and personalized email, as well as the ability to accept a

  variety of online payments. This allows the user to create their own e-commerce presence on the

  web where they can sell their own products and services, and ship and accept payments for those

  goods and services directly through their own website. The Wix services also include the ability

  for the website owner to send automated email confirmations of purchases and notifications

  when the goods are shipped.




                                                  -4-
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 5 of 15



                 ECT’s Patent Infringement Assertion Against Wix’s Customer

         15.     One such Wix premium customer is Higuchi Online Inc. d/b/a Citylife USA

  (“Higuchi”) which runs a website at https://www.citylifeusa.com. Higuchi designed its website

  using Wix’s platform and is a subscriber to Wix’s premium subscription service. Higuchi’s

  website allows its customers to purchase various goods using a credit card and then sends an

  order confirmation after the purchase. Higuchi’s website also sends its customers emails when

  the customer’s purchase is being shipped. This underlying functionality is provided, at least in

  part, by Wix as part of the premium subscription service.

         16.     On or about September 19, 2018, Jean G. Vidal Font of the law firm Ferraiuoli

  LLC, counsel for ECT, sent a letter to Aliza Elazar Higuchi, President of Higuchi, demanding

  that Higuchi pay a license fee of $15,000 in exchange for a license to all of ECT’s patents,

  including the ‘261 patent. A true and correct copy of that letter is attached hereto as Exhibit B.

         17.     The functionality accused of infringing the ‘261 patent in the letter is the

  electronic shipment notification emails that contain previously provided customer information as

  a purported means of authenticating the communication. This functionality is provided to

  Higuchi, at least in part, as part of the Wix premium subscription service.

         18.     Upon information and belief, at the time it sent the letter to Higuchi, ECT knew,

  or should have known, that Higuchi’s accused website was created using the Wix platform and

  thus used the Wix premium subscription service to provide the accused functionality. This

  information could have been easily ascertained by right clicking anywhere on the Higuchi

  website and then clicking on the “View page source” description.

         19.     The Patent-in-Suit in the present declaratory judgment action is the same ‘261

  patent being asserted by ECT against Wix’s customer.




                                                  -5-
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 6 of 15



         20.     The title of the ’261 patent is “Secure Notification Messaging With User Option

  to Communicate with Delivery or Pickup Representative,” and it was filed on March 2, 2015.

  Scott Hortsemeyer is the named inventor on the ‘261 patent and upon information and belief, is a

  member of ECT LLC.

         21.     In its letter to Higuchi, ECT claims priority for the ‘261 patent back to May 28,

  2003. The ‘261 patent indicates that at least two provisional patent applications were filed on

  that date. The ‘261 patent purports to claim priority to and largely shares the specification of

  U.S. Patent No.7,119,716, which itself is in the same patent family as U.S. Patent Nos. 7,064,681

  and 7,113,110 (the ‘716, ‘681, and ‘110 patents are collectively referred to hereinafter as the

  “Eclipse Patents”). All four patents purport to claim priority back to the same set of provisional

  applications, have nearly identical specifications, and the claims in all four patents are materially

  indistinguishable from one another and claim remarkably similar subject matter.

         22.     On September 4, 2014, the Eclipse Patents were found to claim unpatentable

  subject matter and were therefore ruled invalid under 35 U.S.C. § 101. See Eclipse IP, LLC v.

  McKinley Equip. Corp., No. 8:14-cv-742, 2014 WL 4407592 (C.D. Cal. Sept. 4, 2014).

  Specifically, the court found that the patent claims of all three Eclipse Patents were directed to an

  abstract idea with no inventive concept. A copy of that decision is attached as Exhibit C.

         23.     The ‘261 patent itself has previously been challenged on section 101 grounds in at

  least one other case. See Electronic Communication Technologies, LLC v. The Pep Boys –

  Manny, Moe & Jack, d/b/a The Pep Boys, Dkt. No. 28, Case No. 9:16-cv-81676-KAM (S.D. Fla.

  January 3, 2017). A copy of that Motion is attached as Exhibit D. The issue was fully briefed

  and oral argument was held, but ECT moved to voluntarily dismiss the case before the Court

  ruled on the Motion.




                                                  -6-
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 7 of 15



         24.     Several other ECT targets have fought back against ECT’s baseless demands, but

  in every instance, rather than substantively defend the ‘261 patent, upon information and belief,

  ECT simply dismisses its claims, sometimes offering a covenant not to sue so as to divest the

  court of jurisdiction over any patent related declaratory judgment actions. After ECT sent a

  demand letter to Fairytale Brownies asserting infringement of the ‘261 patent, the non-profit

  group Electronic Frontier Foundation (“EFF”) sent a letter to ECT on September 13, 2017

  detailing why the ‘261 patent is invalid under §§ 101, 102 and 103. A copy of this letter and its

  attached, detailed claim charts, can be found at https://www.eff.org/deeplinks/2017/09/patent-

  troll-electronic-communication-technologies-llc. Upon information and belief, since receiving

  this letter, ECT has not filed any additional lawsuits asserting the ‘261 patent.

         25.     Nevertheless, Counsel for ECT stated in their letter to Higuchi, attached as

  Exhibit B, that they were contacting Higuchi “regarding the licensing and enforcement of ECT’s

  intellectual property” including the ‘261 patent. The letter went on to state that “[t]he automated

  messaging features of [Higuchi’s] Order Confirmation and also its Shipping Confirmation online

  system infringe claims of the [‘261 patent].” Finally, the letter stated that “ECT is enthused

  about and looks forward to licensing and enforcing its 13 patents that cover core technologies

  used widely in the online retail market. These technologies broadly include location tracking,

  email, SMS and other electronic shipment confirmations and embedded website hyperlinks.”

  The letter also included a claim chart purporting to show how Higuchi’s website infringes the

  ‘261 patent. See Exhibit B.

         26.     Higuchi notified Wix of ECT’s letter and claimed that Higuchi’s ability to send

  confirmation and tracking emails is provided by Wix as part of Wix’s premium subscription

  service. Higuchi further demanded that Wix defend the infringement claim for Higuchi since




                                                  -7-
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 8 of 15



  Wix is the designer of the accused functionality. A dispute exists as to whether Wix owes any

  contractual indemnification or defense obligation or any similar obligation to its customers under

  the Florida Commercial Relations Uniform Commercial Code.

          27.     Nevertheless, ECT’s statements and unequivocal allegations of infringement to

  Wix’s customer, ECT’s implicit assertion that Wix has indirectly or contributorily infringed the

  ‘261 patent, and Wix’s customer’s demand for defense and indemnification from Wix, create an

  actual case or controversy as to whether Wix and its customer are infringing any valid claim of

  the Patent-in-Suit.

          28.     ECT’s statements and threat of litigation show that there is a substantial

  controversy, between parties having adverse legal interests, of sufficient immediacy and reality

  to warrant the issuance of a declaratory judgment.

          29.     Wix and its customer continue to utilize and offer within this Judicial District and

  elsewhere the notification and messaging technology that ECT has accused Wix’s customer of

  using to infringe the Patent-in-Suit.

                                              COUNT I

                                   Declaration of Non-Infringement

          30.     Wix reincorporates and realleges the allegations of Paragraphs 1 through 29

  above as if fully set forth herein.

          31.     ECT has asserted that Wix’s customer Higuchi infringes the ‘261 patent by using

  Wix’s shipment notification systems.       ECT’s infringement allegations are objectively and

  subjectively baseless and made in bad faith as ECT knew or should have known that Higuchi

  does not infringe any valid claim of the ‘261 patent.




                                                  -8-
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 9 of 15



            32.   Wix’s shipment notification systems, as used by Wix and its customers, do not

  infringe any valid claim of the ‘261 patent because the accused functionality does not satisfy all

  limitations of those claims and/or the claims are invalid.

            33.   Based on ECT’s correspondence and statements to Wix’s customer, an actual case

  or controversy exists as to whether Wix and its customer infringe the ‘261 patent, and Wix is

  entitled to a declaration that it and its customers do not infringe any valid claim of the ‘261

  patent.

                                              COUNT II

                                        Declaration of Invalidity

            34.   Wix reincorporates and realleges the allegations of Paragraphs 1 through 29

  above as if fully set forth herein.

            35.   ECT has asserted that Wix’s customer Higuchi infringes the ‘261 patent by using

  Wix’s shipment notification systems.        ECT’s infringement allegations are objectively and

  subjectively baseless and made in bath as ECT knew or should have known that the ‘261 patent,

  including claim 11 that was asserted against Higuchi, is invalid under the United States Patent

  Act, 35 U.S.C. § 1 et seq., including 35 U.S.C. §§ 101, 102, 103, and/or 112.

            36.   One or more claims of the ‘261 patent are invalid pursuant to 35 U.S.C. § 101 for

  failing to claim patentable subject matter. The claims of the ‘261 are indistinct from the claims

  that were found invalid in the Eclipse IP LLC v. McKinley Equip. Corp., case cited above.

            37.   One or more claims of the ‘261 patent are invalid pursuant to 35 U.S.C. §§ 102

  and/or 103 because they are anticipated and/or rendered obvious by the prior art, including but

  not limited to U.S. Patent No. 7,664,651 and the art identified in EFF’s September 13, 2017

  letter.




                                                  -9-
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 10 of 15



         38.     One or more claims of the ‘261 patent are invalid pursuant to 35 U.S.C. § 102(f)

  because the applicant and sole named inventor did not himself invent the subject matter sought.

         39.     One or more claims of the ‘261 patent are invalid pursuant to 35 U.S.C. § 112

  because they are indefinite, not enabled, and/or lack sufficient written description.

         40.     Based on ECT’s correspondence and statements against Wix’s customer, an

  actual case or controversy exists as to whether Wix and its customers infringe any valid or

  enforceable claim of the ‘261 patent, and Wix is entitled to a declaration that the ‘261 patent is

  invalid.

                                             COUNT III

                                Tortious Interference with Contract

         41.     Wix reincorporates and realleges the allegations of Paragraphs 1 through 29, 31,

  and 35 through 37 above as if fully set forth herein.

         42.     Higuchi is a customer of Wix and subscribes to its premium subscription services.

  As such, a business relationship exists between Wix and Higuchi.

         43.     There is a high probability of future economic benefit to Wix as a result of these

  current and prospective business relationships, especially given Higuchi’s subscription to Wix’s

  premium services.

         44.     ECT knew or should have known of this business relationship as one need only

  right click on the Higuchi webpage and select “View page source” to see that Higuchi’s website

  was designed using Wix’s platform. A simple web search would have revealed this as well.

  Upon information and belief, such an analysis should have been done as part of ECT’s

  investigation of Higuchi’s alleged infringement.




                                                 - 10 -
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 11 of 15



         45.     ECT then intentionally and unjustifiably interfered with, and/or knowingly

  facilitated a conspiracy to interfere with this business and contractual relationship with Higuchi.

         46.     Specifically, but without limitation, upon information and belief, ECT knew or

  should have known that Wix has contractual and business relationships with Higuchi. ECT

  interfered with these relationships by sending a letter to Higuchi accusing functionality that ECT

  knew or should have known was provided by Wix of infringing ECT’s patent and demanding

  payment of $15,000 or Higuchi would face an infringement lawsuit.

         47.     ECT is intentionally and unjustifiably interfering with Wix’s contracts and

  business relationship through improper means, including sending threatening letters to Wix’s

  customer asserting the customer is infringing a patent claim that ECT knew or should have

  known was not valid or infringed as set forth in detail above, and in violation of the law as set

  forth in other Counts. As such, ECT engaged in the acts of interference.

         48.     ECT’s acts injured Wix’s business and contractual relationship by harming the

  relationship between Wix and Higuchi, and requiring Wix to spend significant sums to defend

  against ECT’s baseless infringement allegations.

         49.     Wix has been proximately damaged in excess of $75,000 and continues to be

  damaged as a result of ECT’s tortious interference.

         50.     ECT’s conduct alleged herein was intentional, malicious, and willful, and was

  undertaken by ECT with actual knowledge of the wrongfulness of the conduct and the high

  probability that damage to Wix or its customers would result. Despite that knowledge, ECT

  intentionally pursued that course of conduct, resulting in injury or damage to Wix and/or its

  customers. Alternatively, ECT’s conduct was so reckless or wanting in care that it constituted a




                                                 - 11 -
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 12 of 15



  conscious disregard or indifference to the rights of Wix and/or its customers. Accordingly,

  ECT’s conduct as alleged herein warrants the imposition of punitive damages.

                                                  COUNT IV

                     Deceptive and Unfair Trade Practices (Fla. Stat. § 501.201, et seq.)

         51.       Wix reincorporates and realleges the allegations of Paragraphs 1 through 29, 31,

  and 35 through 37 above as if fully set forth herein.

         52.       ECT has and is engaged in unfair, unconscionable, and/or deceptive trade acts or

  practices in the conduct of trade, in violation of the FDUTPA’s prohibition against unlawful acts

  and practices set forth in Fla. Stat. § 501.204(1). This includes sending demand letters to at least

  one of Wix’s customers, and upon information and belief, to numerous others, demanding that

  they pay ECT a “license fee” to avoid infringement litigation. Upon information and belief, ECT

  sent these letters knowing that the targets of their letters did not infringe any valid claim of

  ECT’s patents.

         53.       ECT’s acts have damaged, impaired, and diluted Wix’s goodwill and good name.

         54.       ECT’s threat constitutes unfair competition and deceptive acts or practices in the

  conduct of trade or commerce as prohibited by Fla. Stat. § 501.204.

         55.       ECT’s deceptive and unfair business practices are of a recurring nature and

  harmful to consumers and the public at large, as well as Wix. Upon information and belief, ECT

  has sent dozens of similar letters to other online retailers and has filed at least 34 lawsuits to

  enforce the ‘261 patent which ECT knew or should have known was invalid and unenforceable.

  These practices constitute unlawful, deceptive, unfair, and fraudulent business practices.

         56.       As a result of ECT’s acts, Wix has suffered and continues to suffer and incur

  irreparable injury, loss of reputation, and pecuniary damages in excess of $75,000. In addition, as




                                                  - 12 -
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 13 of 15



  a result of ECT’s unfair acts, Wix has suffered actual harm by having to expend considerable

  sums to defend its customer Higuchi, and itself, from ECT’s baseless accusations. Unless

  enjoined by this Court, ECT will continue these acts, thereby causing Wix further immediate and

  irreparable damage.

         57.    ECT’s conduct alleged herein was intentional, malicious, and willful, and was

  undertaken by ECT with actual knowledge of the wrongfulness of the conduct and the high

  probability that damage to Wix or its customers would result. Despite that knowledge, ECT

  intentionally pursued that course of conduct, resulting in injury or damage to Wix and/or its

  customers. Alternatively, ECT’s conduct was so reckless or wanting in care that it constituted a

  conscious disregard or indifference to the rights of Wix and/or its customers. Accordingly,

  ECT’s conduct as alleged herein warrants the imposition of punitive damages.

                                            Jury Demand

         Wix demands a jury trial on all issues so triable.

                                         Request for Relief

         WHEREFORE, Wix respectfully request that the Court enter judgment:

         A.     That Wix and its customers utilizing Wix technology do not infringe any valid

                claim of the Patent-in-Suit;

         B.     That the claims of the Patent-in-Suit are invalid;

         C.     That ECT has tortiously interfered with contractual relations between Wix and its

                customers;

         D.     That ECT has committed acts of deceptive and unfair trade practices in violation

                of § 501.204 of FDUTPA;




                                                - 13 -
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 14 of 15



        E.    That this case is exceptional and awarding Wix its attorneys’ fees and costs

              incurred in this action, pursuant to 35 U.S.C. § 285;

        F.    Awarding Wix compensatory and punitive damages arising out of ECT’s tortious

              interference as alleged in Count III;

        G.    Awarding Wix compensatory damages, punitive damages and attorneys’ fees and

              court costs pursuant to §501.2105 of FDUTPA;

        H.    Enjoining ECT from asserting that any additional Wix customers or Wix itself

              infringes any claim of the Patent-in-Suit;

        I.    Enjoining ECT from engaging in further deceptive and unfair trade practices in

              violation of FDUTPA; and,

        J.    Granting Wix such additional relief as the Court may deem just and proper.




                                              - 14 -
Case 1:18-cv-24685-PCH Document 1 Entered on FLSD Docket 11/07/2018 Page 15 of 15



        Dated: November 7, 2018.




                                               /s/ Jay B. Shapiro
                                               Jay B. Shapiro
                                               Florida Bar No. 776361
                                               Ryan Thornton
                                               Florida Bar No. 99195
                                               STEARNS WEAVER MILLER
                                               WEISSLER ALHADEFF
                                               & SITTERSON, P.A.
                                               150 West Flagler Street, Suite 2200
                                               Miami, FL 33130
                                               Phone: (305) 789-3229
                                               Fax: (305) 789-2664
                                               Email: jshapiro@stearnsweaver.com
                                               Email: rthornton@stearnsweaver.com

                                               Scott J. Pivnick (pro hac vice forthcoming)
                                               D.C. Bar No. 455195
                                               Thomas W. Davison
                                               Florid Bar No. 55687
                                               ALSTON & BIRD LLP
                                               The Atlantic Building
                                               950 F Street NW
                                               Washington, DC 20004-1404
                                               Phone: 202-239-3300
                                               Fax: (202) 654-4844
                                               Email: scott.pivnick@alston.com
                                               Email: tom.davison@alston.com

                                               Robert L. Lee (pro hac vice forthcoming)
                                               Georgia Bar No. 443978
                                               ALSTON & BIRD, LLP
                                               1201 W. Peachtree Street
                                               Atlanta, Georgia 30309-3424
                                               Telephone: (404) 881-7000
                                               Fax: (404) 253-8277
                                               Email: bob.lee@alston.com

                                               Attorneys for Plaintiff
                                               Wix.com, Ltd.




                                      - 15 -
